Case 4:10-cv-01896 Document 166 Filed on 04/15/19 in TXSD Page 1 of 2

Supreme Court of the United States
Office of the Clerk
Washington, DC 20543-0001

Scott S. Harris
Clerk of the Court

April 15, 2019 (202) 479-3011

United States District Court

Clerk Southern District of Texas
United States Court of Appeals for the Fifth Circuit FILED

600 S. Maestri Place

New Orleans, LA 70130 APR 15 2019

David J. Bradley, Clerk of Court
Re: Lenard Johnson
v. Richard Winfrey, Jr.
No. 18-1024 4{* 1{OcVISXe
(Your No. 16-20702)

Dear Clerk:

The Court today entered the following order in the above-entitled case:

The petition for a writ of certiorari is denied.

Sincerely,

Stl &. Yous

Scott S. Harris, Clerk
Case 4:10-cv-01896 Document 166 Filed on 04/15/19 in TXSD_ Page 2 of 2

United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE,
Suite 115
NEW ORLEANS, LA 70130

April 15, 2019

Mr. David J. Bradley

Southern District of Texas, Houston
United States District Court

515 Rusk Street

Room 5300

Houston, TX 77002

No. 16-20702 Richard Winfrey, Jr. v. San Jacinto County
USDC No. 4:10-CV-1896

Dear Mr. Bradley,

Enclosed is a copy of the Supreme Court order denying certiorari.

Sincerely,

LYLE W. CAYCE, Clerk

Ku, crpeuctor

Stacy M. Carpenter, Deputy Clerk

